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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                      Chapter 15
PB LIFE AND ANNUITY CO. LTD, et al.,1                       Case No. 20-12791 (LGB)
                 Debtors in Foreign Proceedings.            (Jointly Administered)

Universal Life Insurance Co.,
                 Plaintiff,
v.                                                          Adv. Proc. No. 21-01169 (LGB)
Global Growth Holdings, Inc., et al.,
                 Defendants.


                    MEMORANDUM OF LAW IN SUPPORT OF MOTION
                      OF DEFENDANT CHRISTOPHER HERWIG TO
                         DISMISS THE AMENDED COMPLAINT

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1
  PB Life and Annuity Co., Ltd., Northstar Financial Services (Bermuda) Ltd., Omnia Ltd. and PB Investment
Holdings Ltd., foreign Debtors, are Bermuda limited companies which each have a registered address in Bermuda
c/o Deloitte Ltd., Corner House, 20 Parliament Street, Hamilton HM 12, Bermuda, and are Jointly Administered for
procedural purposes, by Order of this Court entered on April 2, 2021, ECF No. 42.
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           Defendant Christopher Herwig (“Herwig”) submits this memorandum of law in support

of his motion to dismiss (the “Motion to Dismiss”) the First Amended Complaint (the “Amended

Complaint”) pursuant to Rules 9(b) and 12(b)(1), (2) and (6) of the Federal Rules of Civil

Procedure (the “Federal Rules”), made applicable hereto by Rules 7009 and 7012 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                       PRELIMINARY STATEMENT

           By the Amended Complaint, Puerto Rican insurance company Plaintiff Universal Life

Insurance Company (“ULICO”) seeks to recover over $500 million that Bermudian insurance

company Private Bankers Life & Annuity Co., Ltd. (the “Debtor” or “PBLA”) allegedly

transferred. Despite having uncovered no real operative facts, ULICO hastily commenced this

action apparently clouded by concern about the statute of limitations, commencing this case on

July 6, 2021, 4 years after PBLA allegedly transferred $44 million.2 The Amended Complaint

fails on nearly every jurisdictional, procedural and substantive ground.

           ULICO claims in the Amended Complaint that Greg Lindberg and the entities he

controlled engaged in a confidence game where these entities acted as alter egos of Lindberg

behind a veil of smoke and mirrors. ULICO does not base the Amended Complaint on the law—

glaringly omitted from the enumerated counts—nor on operative facts.                          Instead, as against

Herwig, the Amended Complaint rests on a deplorable device: “guilt by association.” ULICO

accuses Herwig of fraud, which he purportedly committed as an affiliate and alter ego of Lindberg

and the entities Lindberg controlled.

           The Amended Complaint posits that because a jury found Lindberg guilty of “conspiring

to bribe the North Carolina Insurance Commissioner with $2 million in payments,” Herwig must



2
    See Compl. ¶ 127 (alleging PBLA made three large transfers on July 7, 2017, aggregating over $44 million).


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be guilty too. Missing from the Amended Complaint, however, is anything supporting the alleged

affiliation. Even worse, other than conclusory allegations ULICO parrots in its claims against

Herwig to try and meet the elements of these claims, the Amended Complaint contains not much

else. At bottom, the Amended Complaint contains nothing to support ULICO’s very serious

claim of “fraud” against Herwig or likewise the other misguided claims against him.

        As threshold matters—and there are many in this case—neither ULICO nor the JPLs

have standing to prosecute the claims in the Amended Complaint. PBLA is a debtor in a

Chapter 15 case pending before this Court in connection with a foreign main proceeding in

Bermuda. In this case, as in most Chapter 15 cases, except for the foreign representative, all

parties are explicitly barred from bringing actions to recover debtors’ assets. To the extent this

action seeks to recover PBLA’s assets, ULICO accordingly has violated the Court’s order

granting recognition of PBLA’s foreign proceeding in Bermuda. Further, “derivative” standing

is similarly unavailing to ULICO because section 1521(a)(7) of the Bankruptcy Code expressly

prohibits the JPLs from obtaining “the relief available” under sections 544(b), 548 and 550 of the

Bankruptcy Code without filing a plenary bankruptcy case. Besides this, to the extent this action

does not concern PBLA’s assets, a position belied by the Amended Complaint itself, this Court

lacks subject matter jurisdiction in the first instance.

        But, even if ULICO had standing, and even if this Court had subject matter jurisdiction,

ULICO’s claims against Herwig still fail as a matter of law. Among other claims, ULICO fails

to adequately plead its voidable transfer claim against Herwig.        Notably absent from the

Amended Complaint are the vital statistics of transferee liability: the who, when and how much.

Most importantly, ULICO never shows (nor can it show) that Herwig received any of the $500

million that are in dispute, as Herwig was not a transferee.



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       Finally, to the extent this case is not dismissed, this Court lacks jurisdiction to enter final

judgments. This case, like Stern v. Marshall, involves non-bankruptcy law claims that exist

independently of PBLA’s bankruptcy proceeding and does not involve an adjustment of a

debtor-creditor relationship. Accordingly, under Stern, it would be unconstitutional for this

Court to enter final judgments in this case.

       For these and other reasons, as more fully discussed herein, the Court should dismiss the

Amended Complaint against Herwig.

           EVENTS ALLEGED UNDERLYING THE AMENDED COMPLAINT

       According to the Amended Complaint, Lindberg implemented a scheme to monetize

valuable assets held in a trust by transferring cash from the trust to PBLA and then to entities

Lindberg controlled. See Compl. ¶¶ 5-7. The Amended Complaint repeatedly alleges that

certain Lindberg “entities” were alter egos of Lindberg and each other. See Compl. ¶¶ 7, 18,

123, 145, 174. ULICO alleges that Lindberg personally guaranteed PBLA’s obligations and

was PBLA’s 100% ultimate and beneficial owner. See Compl. ¶¶ 4, 18. Besides this, the

Amended Complaint alleges that Lindberg signed all the transactions underlying the alleged

transfers for which ULICO seeks to avoid. See Compl. ¶¶ 128, 133.

       The Amended Complaint, nonetheless, further alleges—in wholly conclusory terms—that

“Herwig at various times assisted Lindberg with his conspiracy to defraud ULICO” (Compl. ¶

19, emphasis added) and PBLA’s alleged transfers were made through the “direction” of not

only Lindberg but through Herwig as well. See Compl. ¶¶ 136, 145-46. But the Amended

Complaint is devoid of any factual material supporting these conclusory allegations against

Herwig, employing instead wholly inappropriate and sloppy group pleading, defining Herwig as

an affiliate and alter ego of Lindberg himself and the entities Lindberg owned and controlled.

See Compl. ¶ 105.

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                                 PROCEDURAL HISTORY

       On September 25, 2020, the Supreme Court of Bermuda (the “Bermuda Court”)

appointed Rachelle Frisby and John Johnston of Deloitte as Joint Provisional Liquidators (the

“JPLs”) to wind up PB Life & Annuity Co. Ltd. (the “Debtor” or “PBLA”) in Bermuda (the

“Bermuda Proceeding”).

       On December 3, 2020 (the “Petition Date”), the JPLs filed a voluntary petition for relief

under Chapter 15 of Title 11 of the United States Code (the “Bankruptcy Code”) in this Court.

       On January 15, 2021, this Court issued an order (the “Recognition Order”), granting

recognition of the Bermuda Proceeding as a foreign main proceeding under section 1517 of the

Bankruptcy Code and appointing the JPLs the foreign representative (together, the “Foreign

Representative”) of PBLA and a number of other debtors. See Bankr. Doc. No. 33.

                                        ARGUMENT

                                               I.

  TO THE EXTENT THE AMENDED COMPLAINT SEEKS TO RECOVER PBLA’S
      ASSETS, THEN ULICO LACKS STANDING TO BRING THE CLAIMS
                ASSERTED IN THE AMENDED COMPLAINT

       To the extent the Amended Complaint seeks to recover PBLA’s assets, ULICO lacks

standing in this case, whether standing in its own shoes or the JPLs’ shoes, because (i) the

Recognition Order enjoins creditors like ULICO from this action; and (ii) the JPLs lack standing

to avoid PBLA’s transfers under section 1521(a)(7) of the Bankruptcy Code.

       A.     ULICO Lacks Standing Because the Court’s Recognition Order Enjoins
              Creditors from Bringing Actions Concerning PBLA’s Assets

       ULICO does not have standing to bring the Amended Complaint on its own behalf for the

plain and important reason that the Recognition Order expressly precludes purported creditors

from asserting claims concerning PBLA’s or any of the other Chapter 15 debtor’s assets. In



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particular, the Recognition Order provides, in pertinent part, that:

                 All entities . . ., other than the JPLs and their expressly
                 authorized representatives and agents, are hereby enjoined
                 from:

                 (e) commencing or continuing an individual action or
                 proceeding concerning the Debtors’ assets, rights,
                 obligations, or liabilities to the extent they have not been
                 stayed pursuant to section 1520(a) of the Bankruptcy
                 Code[.]

Recognition Order, ¶ 7(e) (emphasis added).

        Further, the Amended Complaint is directly at odds with chapter 15 itself and the Court’s

finding in the Recognition Order that:

                 Absent the requested relief, the efforts of the Bermuda
                 Court and the JPLs in conducting the Bermuda Proceeding
                 and effecting the proposed administration of the Debtors
                 may be thwarted by the actions of certain creditors and
                 other entities, a result that is antithetical to the purposes of
                 chapter 15 in section 1501(a) of the Bankruptcy Code.


Recognition Order, ¶ M (emphasis added).

        Here, by the Amended Complaint, ULICO seeks to recover PBLA’s transfers and, thus, it

appears to concern the debtors’ assets. In fact, by invoking section 541 of the Bankruptcy Code

as a statutory predicate for the Amended Complaint, ULICO alleges that it seeks to recover

PBLA’s property. See Compl. ¶ 118 (relying on section 541 of the Bankruptcy Code as a

statutory predicate for this action). Accordingly, the Amended Complaint is barred by the

express terms of the Recognition Order.3

        When bringing a lawsuit, a plaintiff “must allege facts that affirmatively and plausibly


3
 Even so, at the status conference on August 12, 2021, the JPLs’ counsel suggested to the Court that they were okay
with ULICO bringing this action. Yet the JPLs are not empowered to unilaterally change the terms of the
Recognition Order and, at the very least, should request permission from the Court to amend this order, after notice
and a hearing.


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suggest it has standing to sue.” Amidax Trading Grp. v. S.W.I.F.T. SCRL, 671 F.3d 140, 145 (2d

Cir. 2011) (citations omitted). Where, as here, a plaintiff lacks standing, the court lacks subject

matter jurisdiction. See Fishbein v. Miranda, 670 F. Supp. 2d 264, 271 (S.D.N.Y. 2009)

(emphasizing that “if Plaintiffs lack standing under Article III of the U.S. Constitution, there is

no subject matter jurisdiction and the Court must dismiss this case”). On this basis alone the

Court should dismiss the Amended Complaint.

       B.      ULICO Lacks Standing to Bring this Action on Behalf of the JPLs

       ULICO also does not have standing to bring the Amended Complaint on behalf of the

JPLs, as it purports to do in this case. ULICO alleges it has standing to pursue this action

because the JPLs declined to do so. See Compl. ¶¶ 9-10. But, even if ULICO could assert

claims “derivatively” on behalf of the JPLs—an ability it has not established—because the JPLs

lack standing, the same is true for ULICO.

       As an initial matter, ULICO has neither sought nor obtained approval from the Court to

bring this action on behalf of the Foreign Representative. The Court can and should dismiss the

Amended Complaint on this basis. See, e.g., In re STN Enters, 779 F.2d 901, 904-05 (2d

Cir.1985) (recognizing creditors’ committee standing to pursue debtor’s cause of action against a

third-party where trustee unjustifiably fails to bring the action, and the committee first obtains

court approval); In re Commodore Int'l Ltd., 262 F.3d 96, 100 (2d Cir.2001); see also Tutor

Perini Building Corp. v. George Washington Bridge Bus Station Develop. Venture LLC (In re

George Washington Bridge Bus Station Develop. Venture LLC), 2021 WL 568241, at *5

(S.D.N.Y. Feb. 16, 2021) (concluding, in affirming bankruptcy court’s denial of derivative

standing, creditor did not seek to pursue claims that will grow the size of the bankruptcy estate

and explaining that “[t]he Second Circuit has instructed courts to consider the probable ‘financial

recovery’ in assessing whether pursuit of a claim would benefit the estate”).

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           ULICO also would not be able to escape this result by seeking “derivative” standing from

the Court because even had it done so, it would have simply revealed the JPLs own lack of

standing to avoid the alleged transfers. In particular, section 1521(a)(7) of the Bankruptcy Code

expressly bars the JPLs from bringing Count I, as follows:

                       (a) Upon recognition of a foreign proceeding, whether
                       main or nonmain, . . . the court may, at the request of the
                       foreign representative, grant any appropriate relief,
                       including . . . .

                       (7) granting any additional relief that may be available
                       to a trustee, except for relief available under sections
                       522, 544, 545, 547, 548, 550, and 724(a).


11 U.S.C. § 1521(a)(7) (emphasis added). Thus, “[u]nlike a bankruptcy trustee, the JPLs cannot

bring avoidance claims on behalf of other creditors under bankruptcy or state fraudulent

transfer laws.” In re Glitnir banki hf., 2011 WL 3652764, at *7 n.17 (Bankr. S.D.N.Y. Aug. 19,

2011) (emphasis added).               The JPLs accordingly have standing only if “a plenary U.S.

bankruptcy case under Chapter 7 or 11 within a Chapter 15 case” is pending. In re Fairfield

Sentry Ltd. Litig., 458 B.R. 665, 678 (S.D.N.Y. 2011) (citation omitted).4

           Section 1523(a) of the Bankruptcy Code confirms that section 1521(a)(7) bars a foreign

representative from asserting avoidance claims in a Chapter 15 case. Section 1523(a) provides,

in pertinent part, that a “foreign representative has standing in a case concerning the debtor under

another chapter of this title to initiate actions under sections 522, 544, 545, 547, 548, 550, 553,

and 724(a).” 11 U.S.C. § 1523 (a) (emphasis added).                   When read together, sections 1523(a) and

1521(a)(7) make clear that a foreign representative may bring avoidance actions only in a case

under a chapter of Title 11 other than Chapter 15, such as a Chapter 7 or 11 case. See, e.g., In re


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    “The ability to file a plenary case within a Chapter 15 case is provided for in sections 1523(a) and 1528.” Id.


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Atlas Shipping A/S, 404 B.R. 726, 742-43 (Bankr. S.D.N.Y. 2009) (explaining that “[s]ection

1521(a)(7) carves out avoidance powers under §§ 544, 547 and 548 which are only available to

the trustee in a full case under another chapter”) (citations omitted). Thus, because the JPLs may

not pursue avoidance claims against Herwig, neither can ULICO.

                                                        II.

            TO THE EXTENT THE AMENDED COMPLAINT DOES NOT SEEK
                 TO RECOVER PBLA’S ASSETS, THE COURT LACKS
                       SUBJECT MATTER JURISDICTION

        To the extent ULICO contends the Amended Complaint does not seek to recover PBLA’s

assets (a position contrary to the Amended Complaint itself as explained above) this Court lacks

subject matter jurisdiction. District courts have “original but not exclusive jurisdiction of all

civil proceedings arising under title 11, or arising in or related to cases under Title 11,” 28 U.S.C.

§ 1334 (b), which are then referred to the bankruptcy courts. See 28 U.S.C. § 157. ULICO

alleges the Court has “related to” jurisdiction. See Compl. ¶ 114. A civil proceeding is “related

to” a bankruptcy case “if the action’s outcome might have any conceivable effect on the

bankrupt estate.” SPV Osus Ltd. v. UBS AG, 882 F.3d 333, 339-40 (2d Cir. 2018) (quoting

Parmalat Capital Fin. Ltd. v. Bank of Am. Corp., 639 F.3d 572, 579 (2d Cir. 2011)).

        Here, to the extent the Amended Complaint does not seek to recover PBLA’s assets, then

this action neither “arises under,” nor “arises in,” nor is “related to” a case under Title 11.

Accordingly, the Court lacks subject matter jurisdiction and, accordingly, should dismiss the

Amended Complaint.5



5
 In this regard, because ULICO seeks to recover the alleged transfer in the Amended Complaint solely for itself, the
Court lacks even “related to” subject matter jurisdiction under 28 U.S.C. § 1334 (b), taking aside the question of
whether ULICO can do so. See 11 U.S.C. § 551.




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       Despite this, ULICO further alleges the Court also has “diversity” jurisdiction “pursuant

to 28 U.S.C. § 1332 because there is complete diversity of citizenship between ULICO and all of

the defendants.” Compl. ¶ 115. But, even if complete diversity among the parties exists in this

case (which ULICO fails to demonstrate), “diversity” jurisdiction does not provide an

independent basis for the Court’s subject matter jurisdiction. The reason for this is plain,

bankruptcy courts derive their jurisdiction from 28 U.S.C. § 157—not 28 U.S.C. § 1332, a

statute ULICO relies on but, by its terms, expressly applies only to district courts. Compare 28

U.S.C. § 157(a) (“Each district court may provide that any or all cases under title 11 and any or

all proceedings arising under title 11 or arising in or related to a case under title 11 shall be

referred to the bankruptcy judges for the district”) (emphasis added) with 28 U.S.C. § 1332(a)

(“The district courts shall have original jurisdiction of all civil actions where the matter in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

between—(1) citizens of different States.”) (emphasis added).

       For this reason, the Court lacks subject matter jurisdiction and should dismiss the

Amended Complaint.


                                              III.

           THE COMPLAINT FAILS UNDER RULE 12(B)(2) FOR LACK OF
                  PERSONAL JURISDICTION OVER HERWIG

       Similarly, the Amended Complaint fails under Rule 12(b)(2) because ULICO never even

alleges personal jurisdiction over Herwig. “To allege personal jurisdiction over a defendant,

group pleading is not permitted.      Instead, the plaintiff is required to establish personal

jurisdiction separately over each defendant” and “with respect to each claim asserted.” In re

Aegan Marine Petro. Network, Inc. Secs. Litig., __F.Supp.3d __, 2021 WL 1178216, at *12

(Bankr. S.D.N.Y. Mar. 29, 2021). Here, the Amended Complaint merely alleges Herwig resides

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in North Carolina—a fact militating against personal jurisdiction—and provides nothing to

indicate he has sufficient minimum contacts with the state of New York, as no such contacts are

even alleged. In any event, Herwig has no such contacts. Accordingly, the Complaint fails

under Rule 12(b)(2) for lack of personal jurisdiction over Herwig.


                                                IV.

            THE AMENDED COMPLAINT FAILS TO STATE ANY CLAIMS
             AGAINST HERWIG AS A MATTER OF LAW AND SHOULD
                     BE DISMISSED UNDER RULE 12(B)(6)

       Even if ULICO were able to overcome the foregoing threshold defects of lack of

standing, lack of subject matter jurisdiction, and lack of personal jurisdiction, the Amended

Complaint lacks substance and fails to state any claims against Herwig as a matter of law.

Accordingly, for the reasons below, the Court should dismiss each and every count of the

Amended Complaint against Herwig under Rule 12(b)(6).


       A.      Applicable Pleading Standards

       Courts use a two-prong approach when considering a motion to dismiss: “First, the court

must accept all factual allegations in the complaint as true, discounting legal conclusions clothed

in the factual garb. . . . Second, the court must determine if these well-pleaded factual allegations

state a ‘plausible claim for relief.’” Gowan v. Amaranth LLC (In re Dreier LLP), 452 B.R. 451,

459-60 (Bankr. S.D.N.Y. 2011) (quoting Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009))

(“Iqbal”)(citations omitted). “Courts do not make plausibility determinations in a vacuum; it is a

‘context-specific task that requires the reviewing court to draw on its judicial experience and

common sense.’” Id. at 460 (quoting Iqbal, 129 S.Ct. at 1950). “A claim is plausible when the

factual allegations permit ‘the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.’ Meeting the plausibility standard requires a complaint to plead facts


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that show ‘more than a sheer possibility that a defendant has acted unlawfully.’ A complaint that

only pleads facts that are ‘merely consistent with a defendant’s liability’ does not meet the

plausibility requirement.” Id. at 460 (citations omitted, quoting Iqbal, 129 S.Ct. at 1949, quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007)).

          “Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice. The pleadings must create the possibility of a right to relief that is

more than speculative.” Id. at 460 (quoting Iqbal, 129 S.Ct. at 1949). “[A] complaint must

contain sufficient factual matter, accepted as true, ‘to state a claim to relief that is plausible on its

face.’” Id. at 459 (quoting Vaughn v. Air Line Pilots Ass’n, Int’l, 604 F.3d 703, 709 (2d Cir.

2010)).

          For counts involving fraud, as in Count I and Count V here, a further heightened pleading

standard applies. Specifically, when “fraud is pleaded, Rule 9(b) requires the plaintiff to plead

fraud with particularity.” Id. at 460-61 (citing Atlanta Shipping Corp., Inc. v. Chemical Bank,

818 F.2d 240, 251 (2d Cir. 1987)). “Pursuant to Rule 9(b) ‘in alleging fraud . . ., a party must

state with particularity the circumstances constituting fraud . . . .’” Id. at 460-61 (quoting Fed R.

Civ. P. 9(b)). In the Second Circuit, “when a complaint charges fraud, it must: (1) detail the

statements (or omissions) that the plaintiff contends are fraudulent, (2) identify the speaker, (3)

state where and when the statements (or omissions) were made, and (4) explain why the

statements (or omissions) are fraudulent.” Harsco Corp. v. Segui, 91 F.3d 337, 347 (2d Cir.

1996)). The plaintiff “must allege facts that give rise to a strong inference of fraudulent intent . .

. by alleging facts to show that defendants had both motive and opportunity to commit fraud, or .

. . by alleging facts that constitute strong circumstantial evidence of conscious misbehavior or

recklessness.” Amaranth, 452 B.R. at 461 (citations and quotations omitted). In this regard, the



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Second Circuit has cautioned plaintiffs who may consider charging a defendant with fraud: “It is

a serious matter to charge a person with fraud and hence no one is permitted to do so unless he is

in a position and is willing to put himself on record as to what the allege fraud consists of

specifically.” Segal v. Gordon, 467 F.2d 602 (2d Cir. 1972) (citations and quotations omitted).

Rule 9(b) acts to prohibits this and, likewise, discourages the filing of complaints “as a pretex for

discovery of unknown wrongs.” Gross v. Diversified Mortgage Investors, 431 F.Supp. 1080,

1087 (S.D.N.Y. 1977); Decker v. Massey-Ferguson, Ltd., 681 F.2d 111, 116 (2d Cir. 1982)

(emphasizing “Rule 9(b) will have failed in its purpose if conclusory generalizations . . . will

permit a plaintiff to set off on a long and expensive discovery process in the hope of uncovering

some sort of wrongdoing or of obtaining a substantial settlement”).

       As discussed below, the Amended Complaint entirely fails to satisfy the applicable

pleading standards and therefore should be dismissed for failure to state claims against Herwig.

       B.      Count I (Voidable Transfer) Fails to State a Claim Against Herwig

       Count I should be dismissed, pursuant to Federal Rule 12 (b)(6), against Herwig for

failure to state a claim upon which relief can be granted. As an initial matter, Count I fails to

properly re-allege the facts it claims support the fraudulent transfers—as paltry as they were—

in the Amended Complaint, re-alleging only paragraphs 1 through 90 of the Amended

Complaint and thereby omitting paragraphs 119 through 134. See Compl. ¶ 135.

       More important, ULICO pleads no facts—let alone sufficient facts—to plausibly show

that Herwig received any portion of the alleged transfers. Under both Federal Rules 8(a) and 9

(b), a complaint seeking recovery against a transferee must allege specific facts showing that the

alleged transfer actually occurred; in particular, the complaint must “contain the necessary vital

statistics – the who, when and how much of the purported transfers to establish an entity [or

individual] as the subsequent transferee of the funds.” Amaranth, 452 B.R. at 464 (citations and

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quotations omitted) (dismissing transferee claims because complaint failed to allege facts

showing the alleged transfer was made to transferee); see Gowan v. Novator Credit Mgmt. (In re

Dreier LLP), 452 B.R. 467, 480 (Bankr. S.D.N.Y. 2011) (dismissing transferee claims where

complaint failed to allege specific facts showing funds were received); Picard v. Madoff (In re

Bernard L. Madoff Inv. Secs. LLC), 458 B.R. 87, 120 (Bankr. S.D.N.Y. 2011) (explaining,

through comparison, that complaint must apprise alleged transferees “which transactions are

claimed to be fraudulent and why, when they took place, and how they were executed and by

whom”) (citations and quotations omitted).

       Here, ULICO fails to adequately allege transferee liability against Herwig because it

pleads no facts—let alone (as set forth in Amaranth, 452 B.R. at 464) the “necessary vital

statistics” of “who, when, and how much”—to plausibly show that Herwig received any portion

of the alleged transfers. Moreover, the bald allegations that “PBLA under the direction of

Lindberg, siphoned off more than $500 million of funds from the Trust . . . to Lindberg and his

affiliated entities [and a]t one time, each of the named Defendants were recipients of such

transfers from the Trust[,]” Compl. ¶¶ 124-25, do not plausibly show that Herwig received a

fraudulent transfer. Such “‘naked assertion[s]’ devoid of ‘further factual enhancement’” do not

suffice to meet the federal pleading standard. Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S.

at 557).

       ULICO, nonetheless, attempts to supply two of the “necessary vital statistics”—the date

and amount allegedly transferred—by providing piecemeal samples of the alleged transfers and

grouping defendants together. See Compl. ¶¶ 137-41. The Amended Complaint alleges, for

example, that “on July 7, 2017 disguised as loan and security agreements, PBLA loaned Trust

Proceeds to various Lindberg affiliated entities,” (Compl. ¶ 137) and alleges that all “[t]he



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transactions above are merely examples of several that continued through December 31, 2018.”

Compl. ¶ 142.

         This misplaced attempt at “group pleading,” however, is plainly inadequate under

Federal Rule 9(b). See, e.g., Buchwald Capital Advisors LLC v. JP Morgan Chase Bank (In re M.

Fabrikant & Sons, Inc.), 541 Fed.Appx. 55, 57-58 (2d Cir. 2013) (concluding, in affirming

dismissal, “[t]he Trustee has not identified the dates, amounts, and other relevant circumstances of

the particular transfers that it contends were made with the actual intend to defraud creditors”);

Novator, 452 B.R. at 478 (emphasizing that under Federal Rule 9(b), “group pleading is

generally forbidden because each defendant is entitled to know what he is accused of doing”)

(citations and quotations omitted). Moreover, even the more liberal Federal Rule 8(a) is not

satisfied where, as here, a complaint “lump[s] all the defendants together . . . and provid[es] no

basis to distinguish their conduct.” Atuahene v. City of Hartford, 10 Fed. Appx. 33, 34 (2d Cir.

2001) (explaining that Rule 8, “requires at a minimum, that a complaint give each defendant fair

notice of what the plaintiff’s claim is and the ground upon which it rests”) (citation and

quotations omitted, emphasis added).6

        Here, nothing in the Amended Complaint gives fair notice to Herwig of the amount

allegedly transferred to him, the specific date of any transfer to him, or the entities or entities

from which he allegedly received one or more transfers. Indeed, ULICO does not even specify

an aggregate amount of transfers, pleading instead that the transfers “are merely examples of the

several that continued through December 31, 2018,” and, in other cases, alleging that the

transfers are “not exhaustive,” entirely leaving to speculation the actual amounts supposedly



6
  Even if the Court concludes that the group pleading in Amended Complaint paragraphs 136 through 149 is
sufficient under Rule 8(a), it should still dismiss Count I, which is governed by Federal Rule 9(b), for the reasons
stated above.


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received by defendants, including Herwig. Compl. ¶¶ 127, 142. These allegations fall well short

of the federal pleading standard.7

        In addition to failing to adequately allege Herwig is a transferee of any of the alleged

transfers, Count I should be dismissed against Herwig because ULICO fails to adequately allege

that Herwig directed PBLA to make the transfers. For example, the Amended Complaint alleges

“PBLA, through the direction of Lindberg and Herwig entered into and executed hundreds of

transactions withdrawing assets from the Trust and then loaded the Trust Proceeds to various

affiliates of Lindberg with knowledge of the effect such transactions would have on the future

creditors, mainly, ULICO.” See Compl. ¶ 128 (emphasis added). Similarly, the Amended

Complaint baldly alleges that Herwig “assisted Lindberg with his conspiracy to defraud ULICO”

and “[t]he nature of each of the transactions were such that PBLA, through the direction of

Lindberg and Herwig attempted to conceal the Trust Benefits for the sole benefit of Lindberg

and his affiliated entities, and affiliated persons, including Chris Herwig.” See Compl. ¶ 149

(emphasis added).

        Yet, notably absent for the Amended Complaint is any allegation that ties Herwig to

PBLA or even remotely suggests—let alone strongly infers—that Herwig “directed” the

transactions alleged in this case, not to mention how or why he would do so under ULICO’s

fraudulent theory of its case. As to this point, the Amended Complaint alleges that Herwig “was

the Chief Investment Officer of Eli Global, LLC,” not PBLA. And, according to the Amended

Complaint, Eli Global, LLC is “a limited liability company in which Lindberg is the sole

member,” underscoring Herwig’s lack of control over that entity. Compl. ¶¶ 19, 47 (emphasis


7
  Further, “[t]o the extent that the instant complaint seeks the recovery of property of the debtor from [Herwig]
which he allegedly caused to be transferred to another, the complaint is defective. A number of courts have held
that a bankruptcy trustee cannot recover fraudulent transfers from other than the transferees.” Liebmann v. Pucci (In
re Ampat So. Corp.), 128 B.R. 405, 411 (Bank. D. Md. 1991).


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added). Besides this, as discussed above, the Complaint does not even allege Herwig authorized

any of the purported transactions, alleging instead that Lindberg signed all of the alleged

transactions underlying the transfers. See Compl. ¶¶ 128, 133.

       Further, the Amended Complaint alleges that Herwig is a manager—as of 2021—of three

defendants affiliated with Lindberg, namely, Alpine Capital, LLC, Fortrex, LLC, and Integrity

EMR, LLC. Compl. ¶¶ 22, 55, 71. But, Herwig’s status as a manger of these entities does not

plausibly support any inference—let alone a strong one—that Herwig directed the transfers

ULICO alleges PBLA fraudulently made, taking aside the more obvious fact that Herwig’s status

as a manager in 2021, years after the transfers occurred, is entirely irrelevant. See, e.g., Pullman

v. Alpha Media Publ’g, Inc., 2013 WL 1290409, at *22 (S.D.N.Y. Jan. 11, 2013) (alleging fraud

requires more than pleading guilt by association”).

       Finally, to the extent the Amended Complaint alleges a claim for “constructive”

fraudulent transfer, because ULICO has failed to allege PBLA was insolvent, this claim too fails.

       For all of these reasons, the Court should dismiss Count I of the Amended Complaint

against Herwig.

       C.      Count II (Unjust Enrichment), Count III (Conversion) and Count IV
               (Constructive Trust) are Duplicative Tack-On Claims that Fail to State a
               Claim Against Herwig

       In several tack-on claims, Count II (Unjust Enrichment), Count III (Conversion), and

Count IV (Constructive Trust), ULICO seeks to recover the same alleged transfers based on

exactly the same set of alleged facts as in Count I against Herwig. Compare Compl. ¶ 175

(Count I, “All transactions . . . are deemed voidable, and Defendants must repay ULICO for each

voidable transaction . . .”) with ¶ 155 (Count II, seeking “immediately turnover of Trust

Proceeds[]”); ¶ 162 (Count III, seeking “an order from this Court instructing Lindberg Affiliates

to turn over the Trust proceeds immediately[]”); ¶ 167 (Count IV, seeking to establish that

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“Defendants had no equitable title or right to the Trust Proceeds[]”). Accordingly, for the same

reasons that Count I must be dismissed (as discussed above) against Herwig, these counts too

fail. See, e.g., Corsello v. Verizon N.Y., Inc., 18 N.Y.3d 777, 790 (N.Y. 2012) (explaining that

“unjust enrichment claim is not a catch-all cause of action . . .[,]” and “is not available where it

simply duplicates, or replaces, a conventional contract or tort claim”) (citations omitted).

        To the extent these claims are not dismissed by the Court out of hand, these claims fail

upon even a cursory review. As to Count II (Unjust Enrichment), under New York law,8 “it is

well established that to successfully plead unjust enrichment a plaintiff must allege that (1) the

other party was enriched, (2) at that party’s expense, and (3) that it is against equity and good

conscience to permit the other party to retain what is sought to be recovered.” Georgia Malone

& Co. v. Rieder, 19 N.Y.3d 511, 516 (N.Y. 2012) (citations and quotations omitted). To survive

a motion to dismiss, a plaintiff must, among other things, plead facts that “assert a connection

between the parties that [is] not too attenuated,” and that “indicate a relationship between the

parties that could have caused reliance or inducement.” Id., at 517-18 (internal citation and

quotations omitted); see Mandarin Trading Ltd. v. Wildenstein, 16 N.Y. 3d 173, 182 (N.Y. 2011)

(explaining that “[a]lthough privity is not required for an unjust enrichment claim, a claim will

not be supported if the connection between the parties is too attenuated”) (citations omitted).

        Here, the Amended Complaint does not identify a tangible benefit Herwig received from

the alleged transfers of the Trust Proceeds. See, e.g., Tribune Co. v. Purcigliotti, 869 F. Supp.

1076, 1102 (S.D.N.Y. 1994) (emphasizing that “it must be alleged that plaintiff conferred a

tangible benefit upon the defendant”).           Further, the Amended Complaint fails to plead a



8
  Although the Amended Complaint does not specify any law that applies to any of the counts alleged, including
Count II, Count III and Count IV, Herwig assumes for purpose of this motion only that ULICO relies on New York
law.


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sufficiently close relationship—indeed, any relationship—between ULICO and Herwig.

Instead, “Lindberg, the ultimate owner of [PBLA], caused PBLA to enter into reinsurance and

trust agreements with ULICO . . .” (Compl. ¶ 2) and the Amended Complaint does not even

allege a single contact between Herwig and ULICO.

       As to Count III (Conversion) against Herwig, under New York law, “[t]o establish a

cause of action to recover damages for conversion, a plaintiff must show legal ownership or an

immediate superior right of possession to a specific identifiable thing and must show that the

defendant exercised an unauthorized dominion over the thing in question to the exclusion of the

plaintiff’s rights.” Lehman Bros. Holdings Inc. v. JPMorgan Chase Bank, N.A. (In re Lehman

Bros. Holdings, Inc.), 541 B.R. 551 (Bank. S.D.N.Y. 2015) (citations and quotations omitted).

       The Amended Complaint fails to allege that Herwig exercised dominion and control over

the Trust Proceeds to the exclusion of ULICO.          On the contrary, other than conclusory

allegations inserted in this count, the Amended Complaint alleges that Lindberg was the person

who exercised dominion and control, not Herwig. See Compl. ¶ 124 (“PBLA under the direction

of Lindberg, siphoned off more than $500 million of funds from the Trust (referred to as the

‘Trust Proceeds’) to Lindberg and his affiliated entities in an effort to hinder, defraud and delay

recovery to creditors, including ULICO”).

       Finally, the Court must dismiss Count IV (Constructive Trust) against Herwig because

ULICO’s unjust enrichment (Count II) fails, as discussed above. See, e.g., Leidel v. Annicelli,

114 A.D.3d 536, 537 (N.Y. App. Div. 2014); see also Schulman Family Enter. v. Schulman,

2011 WL 6224563, *5 (N.Y. App. Div. 2011) (emphasizing that “[u]njust enrichment is the heart

of the constructive trust doctrine”).   Moreover, under New York law, “[a] confidential or

fiduciary relationship between [ULICO] and [Herwig] is an element of [a] claim[] for a



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constructive trust . . .,” and ULICO fails to plead any such relationship existed. Rose v. Fahfco

Mgmt. Group, LLC, 2014 WL 7389900 (S.D.N.Y. Dec. 15, 2014) (dismissing constructive trust

claim where plaintiff failed to allege a confidential or fiduciary relationship with defendant).

According, ULICO’s constructive trust count fails as a matter of law.

       D.      Count V (Fraud) and Count VI (Breach of Fiduciary Duty) Fail to State a
               Claim Against Herwig

       As to Count V (Fraud) and ULICO’s unfounded accusations of fraud against Herwig,

“[u]nder New York law, to state a claim for fraud a plaintiff must demonstrate: (1) a

misrepresentation or omission of material fact; (2) which the defendant knew to be false; (3)

which the defendant made with the intention of inducing reliance; (4) upon which the plaintiff

reasonably relied; and (5) which caused injury to the plaintiff.” Wynn v. AC Rochester, 273 F.3d

153, 156 (2d Cir. 2001). Further, it is hornbook law that a complaint which seeks relief based on

fraud theories must be pled with specificity. See, e.g., Acito v. IMCERA Group, Inc., 47 F.3d 47,

52-53 (2d Cir. 1995) (explaining that “Rule 9(b) is intended to provide a defendant with fair

notice of a plaintiff’s claim, to safeguard a defendant’s reputation from improvident charges of

wrongdoing, and to protect the defendant against the institution of a strike suit”). ULICO is

required under Rule 9(b) “to connect the allegations of fraud to each individual defendant.”

Trustees of Plumbers & Pipefitters Nat. Pension Fund v. De-Con Mech. Contractors, Inc., 896

F.Supp. 342, 347 (S.D.N.Y. 1995). A complaint which sounds in fraud “may not rely on

sweeping references to acts by all or some of the defendants because each named defendant is

entitled to be apprised of the facts surrounding the alleged fraud.” Id.

       Courts universally prohibit group pleading, what ULICO has done here by charging

Herwig with fraudulent conduct in defining him as a “Lindberg Affiliate.” Courts in the Second

Circuit and this district have routinely dismissed group pleading of fraud claims pursuant to Rule


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9(b) where, as here, plaintiff has failed to adequately plead fraud against individual defendants.

See Mills v. Polar Molecular Corp., 12 F.3d 1170 (2nd Cir. 1993) (dismissing complaint where

plaintiff failed to link the alleged fraudulent statements to particular directors); Morgens

Waterfall Holdings, L.L.C. v. Donaldson, Lufkin & Jenrette Secs. Corp., 198 F.R.D. 608, 609-10

(S.D.N.Y. 2001) (explaining that “a plaintiff may not circumvent this [Rule 9(b)] requirement by

identifying the defendants as members of various groups”); Ellison v. American Image Motor

Co., 36 F. Supp.2d 628, 640 (S.D.N.Y. 1999) (emphasizing “Rule 9(b) is not satisfied by a

complaint in which defendants are clumped together in vague allegations”) (citation and

quotations omitted); Meadowlands Invs., LLC v. CIBC World Markets Corp., 2005 WL 2347856

at *7 (S.D.N.Y. Sept. 22, 2005) (concluding “Plaintiff impermissibly clumps Defendants

together and also fails to give any specific information about the allegedly false statements as

required by Rule 9(b), such as when and where the statements were made, identifying the

speaker responsible for those statements more specifically than a general identification of the

speaker as ‘Defendants,’ and giving particulars about why the statements were fraudulent when

made”).

         Here, Herwig is entitled to dismissal of Count V and VI of the Amended Complaint.

When a case involves multiple defendants, Rule 9(b) requires the complaint to allege facts

specifying each defendant’s contribution to the fraud and identifying which defendant is

responsible for which act. Despite this, as well as the Second Circuit’s instruction that charging

a person with fraud is a serious matter that must be done specifically and not based on hope of

uncovering wrongdoing later,9 ULICO fails in the Amended Complaint to identify any


9
  See Segal v. Gordon, 467 F.2d 602 (2d Cir. 1972); Decker v. Massey-Ferguson, Ltd., 681 F.2d 111, 116 (2d Cir.
1982) (emphasizing “Rule 9(b) will have failed in its purpose if conclusory generalizations . . . will permit a plaintiff
to set off on a long and expensive discovery process in the hope of uncovering some sort of wrongdoing or of
obtaining a substantial settlement”).


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statements—let alone specific actual misrepresentations—by Herwig or that ULICO relied upon

such misrepresentations. For this reason, Count V and Count VI against Herwig should be

dismissed. See, e.g., Pullman, 2013 WL 1290409, at *22 (granting motion to dismiss fraud

claim where, as here, plaintiff failed to identify actual misrepresentations made by defendant and

reliance on those misrepresentations).

       But even if ULICO could identify specific misrepresentations and show its reliance, for

obvious reasons, the Amended Complaint still does not even come close to pleading with any

particularity what basis there is for alleging fraud against Herwig. The Second Circuit explains:

“The requisite ‘strong inference’ of fraud, [or scienter]’ may be established either a) by alleging

facts showing that defendants had both motive and opportunity to commit fraud, or (b) by

alleging facts that constitute strong circumstantial evidence of conscious misbehavior or

recklessness.” Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124, 1128 (2d Cir. 1994); see also

Nisselson v. Drew Indus., Inc. (In re White Metal Rolling & Stamping Corp.), 222 B.R. 417, 422

(Bankr. S.D.N.Y. 1998). As stated above, there is no specific conduct alleged on the part of

Herwig that meets this standard. Further, “[i]n a case involving multiple defendants, plaintiffs

must plead circumstances providing a factual basis for scienter for each defendant; guilt by

association is impermissible.” DeAngelis v. Corzine, 17 F.Supp.3d 270, 281-82 (S.D.N.Y. 2014)

(concluding complaint “does not offer a sufficient basis to permit a reasonable inference that the

Individual Defendants acted with scienter”).

       As to the first prong, requiring motive and opportunity, the Amended Complaint is

devoid of any allegations that would even suggest Herwig had motive and opportunity to commit

fraud against ULICO. In this regard, by alleging Lindberg, is “the ultimate beneficial owner of

PBLA,” the Amended Complaint itself indicates Lindberg is the only person who stood to



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benefit from the alleged fraud. See Compl. ¶ 18. Similarly, by alleging that “Lindberg signed on

behalf of PBLA (the lender) and signed on behalf of borrower affiliated entities,” and “Lindberg

was a signatory for each of those transfers,” the Amended Complaint makes clear that Lindberg

is the only person alleged with opportunity to commit such fraud. See Compl. ¶¶ 128, 133.

Similarly, while the Amended Complaint alleges that Herwig “was the Chief Investment Officer

of Eli Global, LLC,” that is as far as it goes; this alleged status does not support the strong

inference that Herwig engaged in fraud or, likewise, that he had the motive and opportunity to

commit such fraud. And, Eli Global, LLC is “a limited liability company in which Lindberg is

the sole member,” underscoring Herwig’s lack of opportunity. Compl. ¶¶ 19, 47 (emphasis

added).

          Similarly, as to the second prong, conscious misbehavior or recklessness, “[w]here

motive is not apparent . . . the strength of the circumstantial allegations must be correspondingly

greater.” Kalnit v. Eichler, 264 F.3d 131, 142 (2d Cir. 2001) (affirming dismissal because

plaintiff failed to adequately allege scienter). In this case, other than wholly conclusory

allegations that Herwig “assisted” Lindberg and “directed” the transfers, ULICO fails to allege

any operative facts that Herwig engaged in wrongdoing, let alone that he the acted with

conscious misbehavior or recklessness. For these reasons, Count V against Herwig fails as a

matter of law.

          Finally, as to Count VI (Breach of Fiduciary Duty”) against Herwig, where the complaint

purports to incorporate by reference prior allegations of fraud into other claims those claims must

be plead with particularity pursuant to Rule 9(b). See, e.g., ICD Holdings v. Frankel, 976

F.Supp. 234, 246 n.53 (S.D.N.Y. 1997) (incorporating other allegations of fraud makes Rule 9(b)

applicable). In this case, not only does ULICO fail to meet Rule 9(b) in Count VI, ULICO fails



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to even allege that it had any relationship with Herwig let alone a special one where Herwig

owed it a fiduciary duty.

         For these reasons, Count V and VI of the Amended Complaint against Herwig both fail

as a matter of law.

                                                          V.

                               THE COURT MAY NOT ENTER FINAL
                                 ADJUDICATIONS IN THIS CASE

         Even if ULICO had standing and the Court had subject matter jurisdiction over this

dispute, and ULICO’s claims against Herwig did not all fail as a matter of law, under Stern v.

Marshall, 131 S.Ct. 2594, 2603 (2011), the Court may not enter final judgment on

nonbankruptcy law claims that, like ULICO’s claims here, do not implicate the claims allowance

process. Further, the Court has authority to issue only proposed pre-trial findings in this case,

because ULICO has demanded a jury trial, which this Court may not conduct without Herwig’s

express consent, if at all.10

                                                         VI.

     HERWIG EXPRESSLY RESERVES THE RIGHT TO JOIN IN AND INCORPORATE
        MOTIONS TO DISMISS THE AMENDED COMPLAINT FILED AND TO BE
               FILED BY ANY OTHER DEFENDANT IN THIS CASE

         Herwig hereby reserves his rights to join in and incorporate motions to dismiss the

Amended Complaint filed or to be filed by any other defendants named in this case.




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  See 28 U.S.C. § 157(e) (“If the right to a jury trial applies in a proceeding that may be heard under this section by
a bankruptcy judge, the bankruptcy judge may conduct the jury trial if specially designated to exercise such
jurisdiction by the district court and with the express consent of all the parties”).


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                                            VII.

                                      CONCLUSION

       For the reasons set forth above, Mr. Herwig respectfully requests the Court grant the

Motion and dismiss the Amended Complaint against him in its entirety.


                                           Respectfully submitted,

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